             Case 2:08-cv-03386-AB Document 1 Filed 07/18/08 Page 1 of 11



KarinM. Gunter,Esquire
PA ld No. 79852
Law Officeof KarinM. Gunter
7323 N. 21't Street
Philadelphia, PA 19138-2107                                      ATTORNEYFOR PLAINTIFF,
(215) 548-9992                                                   CEARLEANHENRY-LOGAN


                          INT H EU NITED
                                       STATESDISTRICTCOURT
                        FORTHEEASTERN   DISTRICT
                                               OF PENNSYLVANIA


C E A R L E A NH E N R Y - L O G A N ,
7 4 2 9N . 2 ' l s t S t r e e t
P h i l a d e l p h iP
                     a ,A 1 9 1 3 8                              C i v i l A c t i o nN o .
                      Plaintiff

        V.
                                                                 JURYTRIALDEMAND ED
GENESISHEALTHCARECORPORATION            d/b/a
T H E O A K SA S S I S T E DL I V I N G
101 East State Street
KennettSquare,PA 19348
                Defendant.


                                              COMPLAINT

                                         PreliminaryStatement

        Thisactionis broughtby a formeremployeeagainsther employerfor retaliation

discrimination
             basedon race/color,
                              nationaloriginin violationof TitleVll of the CivilRightsAct

of 1964,as amended,42 U.S.C.$ 2000e-1ef seq. ("TitleVll"),Philadelphia
                                                                     Fair Practices

Ordinance,as amended,Philadelphia
                                Code,ch. 9, SS 1100-1110 ef seq. ("PFpO"),and

Pennsylvania
           HumanRelationsAct, as amended,43P.S.SS951-963("PHRA");and for

violationof her rightsunderthe UnitedStatesConstitution
                                                      and laws underthe CivilRightsAct

of 1964,as amended,42 U.S.C.S 1988("Section1988").

        Plaintiffseeks compensatoryand punitivedamages,attorney'sfees, expertfees, costs

and suchotherreliefas this Courtdeemsjust and proper.

                                         Jurisdictionand Venue

        1.           jurisdiction
               Original                      federalquestion
                                overPlaintiff's            claimsis conferred
                                                                            uponthis
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C o u r tp u r s u a ntto 4 2 U . S . C .$ 2 0 0 0 e - 5 ( f ) ( 1 ) a n2d8 U . S . C S
                                                                                      . S 1 3 3 1a n d 1 3 4 3 . S u p p t e m e n t a l

jurisdiction
           over Plaintiff'sstatelaw claimsis conferredupon this Courtpursuantto 28 U.S.C.S

1367(a).

          2.     Venue lies in this districtby 28 U.S.C.S 1391(b)and (c) in that all actions

complainedof occurredin this district.

          3.     Plaintiffhas exhaustedher administrative
                                                        remediesunderTitleVll, PFPOand

PHRA

         4.      On March9,2007, Plaintiffduallyfiledan administrative
                                                                     complaintagainst

DefendantGenesisHealthcared/b/aThe OaksAssistedLivingwith the Pennsylvania
                                                                         Human

RelationsCommission(PHRC)and the UnitedStatesEqualEmploymentOpportunity

         (EEOC)allegingwrongfuldischargebasedon retaliation
Commission                                                discrimination

(race/color).

         5.      On April23,2008, PlaintiffreceivedEEOC'sNoticeof Rightto Sue letter.

                 A true and correctcopy EEOC'sRightto Sue Letteris attachedas Exhibit"A".

         6.      On May 24,2008, PlaintiffreceivedpHRC'sRightto Sue letter.

                 A true and correctcopy of PHRC'sNoticeof Rightto Sue Letteris attachedas

Exhibit"B".

                                                             Parties

         7.      Plaintiff
                        CEARLEAN
                               HENRY-LOGAN       or "Henry-Logan")
                                        ("Plaintiff"           is an adult
personanda citizenof the UnitedStates.Plaintiff
                                             residesin Philadelphia,
                                                                  Pennsylvania.

         8.      DEfENdANt
                        GENESISHEALTHCARE
                                        CORPORATION
                                                  d/b/aTHEOAKS

ASSISTED               "Employed'
       LlvlNG("Defendant",     or "Theoaks")is a corporation,
                                                           createdand

existingunderthe lawsof the Commonwealth
                                      of Pennsylvania
                                                   withits corporateheadquarters

locatedat 101EastStateStreet,KennettSquare,PA 19348and a placeof businesslocated

at24OBarkerRoad,Wyncote,PA 19095.

         9.     At all timesrelevantto thismatter,Defendant
                                                          actedthroughits agents,servants
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and employees,each of whom also at all relevanttimesactedwithinthe scopeof his/her

employment.

        10. Defendantis an "employed'within
                                         the meaningof TitleVll of the CivilRightsAct

of 1964becauseit engagedin an industryaffectingcommerceand becauseit maintains

and/ormaintainedfifteen or more employeesfor each workingdays in each of the twentyor

moreweeks in the currentor precedingcalendaryear.

                                    Factual Allegations

       11.   DefendanthiredPlaintiffas a residentcareaide on or aboutAugust18,2001.

       12. Plaintiffis a blackfemaleof Trinidadian
                                                 nationalorigin.

       13. On or aboutOctober13, 2005,Plaintiffduallyfileda complaintof harassment

discrimination
             allegingdifferenttreatmentdue to nationalorigin,race,color(Trinidadand

Tobago)withthe Pennsylvania
                          HumanRelationsCommission(PHRC),case number

200501838and U.S. EqualEmploymentOpportunity
                                           Commission,Philadelphia
                                                                 DistrictOffice
                                 "First
(EEOC)againstDefendant(hereinafter    PHRCComplaint").

       14. Defendantis awareof the previouschargesas averredin paragraph13, supra.

       15. ln the first PHRCcomplaint,Plaintiffaverredconducton behalfof EstherHawkins

("Hawkins")(black
               female),Defendant'sResidentCare Directorand Jean Zipperlen

("Zipperlen")(white
                 female),Defendant'sExecutiveDirectoras violatingher rightsunderTifle

Vll and PHRA,inter alia.

       16. As a resultof Plaintiff's
                                   and otheremployees'complaintsof discrimination,
                                                                                in

2005 the Pennsylvania
                    Departmentof Welfare(DPW),Bureauof EqualOpportunityinitiateda

civilrightscomplianceinvestigation
                                 againstDefendant.

       17. Defendantis aware of the DPW investigationas averredin paragraph16, supra.

       18. The DPW investigation
                               had the potentialtoadverselyaffectDefendant's
                                                                           their

state licensingand certification.
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       19. Upon informationand belief,the DPW'scivilrightsinvestigation
                                                                      initiatedin 2005

currentlyremainsongoing.

       20. On or about September2006, Plaintiffreceivedher first performanceevaluation

afterfilingthe first PHRCcomplaint.

       21. This performanceevaluationwas the lowestevaluationshe had ever receivedin

her priorfive years of employmentwith Defendant.

       22. On or aboutOctober17,2006,Plaintiffand Defendantreacheda settlement
                                                                             with

respectto the first PHRCcomplaint.

       23. Thereafter,Plaintiffwas continuouslysubjectedto retaliationby Defendant,even

afterHawkinsceasedemploymentat the Oaks.

                                   assignedto the harderpatientcare floor,the 2ndfloor,
       24. Plaintiffwas consistently

despitethe Oaks' practiceof rotatingresidentcare aides betweenthe first and secondfloors

for equal distributionof the work load.

       25. Defendant'sagentsZipperlenand DefendantResidentCare Director,Jackie

Geiger("Geiger'')(white
                     female)repeatedlysubjectedPlaintiffto unjusttreatment.

       26. Geigerand Zipperlenrepeatedlygave Plaintiffconflictinginformationregarding

her employmentstatus,vacationtime and personaldays.

       27. Zipperlenand Geigerrepeatedlydeniedgrantingpersonaldays and vacationtime

basedon Plaintiff'sallegedpart-timestatus.

       28. However,Plaintiffwas a full-timeemployee.

       29. BetweenAugustand October2006 alone,Plaintiffwent to Geigerand Zipperlen

no lessthan 5 separatetimeson the topicof her employmentstatus.

       30. Untilher termination,Plaintiffcontinuouslyreceivedconflictinginformationfrom

Defendantregardingher employmentstatus,which directlyaffectedPlaintiff'spay,

performance          benefits,personaldays and vacationtime.
          evaluations,

       31. On or about February4,2007, Defendantthroughits agentsZipperlenand Geiger
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terminated5 employees,all of whom were eitherblackAmericansor blackpersonsof foreign

nationalorigins.

          32. Manyof the employeesterminatedas notedin paragraph31, supra,gave

statementsto the DPW investigator,BarbaraOliver.

          33. As a resultof its spontaneousmass termination,Defendantcreateda staffing

shortageamongstthe residentcare aides and other staffingdepartments.

          34. Due to its massterminationaction,on Monday,March5,2007 at approximately

10:00p.m.,DefendantassignedPlaintiffto mandatoryovertimefrom '11:00p.m.to 7.00 a.m.

          35. Plaintiffhad just workedher normal3:00 p.m.to 11:00p.m. shiftand informedher

immediatesupervisor,
                  she couldnot work the mandatoryovertimeshiftfor medicalreasons.

          36. On March5,2AA7,Plaintiffgave Defendanta doctor'snote datedFebruary23,

2007 from her treatingphysicianstatingPlaintiffsufferedfrom severetenosynovitisthereby

          the numberof hoursin a day Plaintiffcould"be on her feet."
restricting

          37. Plaintiffdid not work the mandatoryovertimeshifton March5,2007.

          38. On Tuesday,March6,2007, GeigercalledPlaintiffat her home and required

Plaintiffgo to Defendant'sdoctorsto confirmPlaintiff'smedicalcondition.

          39. Plaintiffmade an appointment
                                         with NovaCare,Defendant'sdoctorsfor Friday,

M a r c h9 , 2 0 0 7 .

          40. On Thursday,March8, 2OO7
                                     , ZipperlencalledPlaintiffat homeand left a

telephonevoicemailmessagestatingshe neededto speak to Plaintiffabout the doctor'snote

Plaintiffleftwith Defendanton Monday,March5,2007.

          41. Lateron March8, 2007, Zipperlenspoketo Plaintiffon her off day and statedher

         l o r ks h i f th a d c h a n g e df r o m3 : 0 0p . m .t o 1 1 : 0 0p . m .t o 1 1 : 0 0p . m .t o 7 : 0 0a . m .
n o r m aw

effectiveFriday,March9,2007.

          42. Geigerand DefendantCorporateHumanResourcesMangerTraciFegley

             also presenton the telephoneconferencebetweenZipperlenand Plaintiff,on
("Fegley")were
              Case 2:08-cv-03386-AB Document 1 Filed 07/18/08 Page 6 of 11



M a r c h8 , 2 0 0 7 .

          43. PlaintiffinformedZipperlen,Geigerand Fegleyshe alreadyhad scheduled

personalplansfor 11:00p.m.to 7:00 a.m.on March9,2007 throughMarch 10,2007.

          44. Defendantvia Zipperlenrepeatedlyasked Plaintiffif she was refusingher work

assignmentduringthe March8,2007 teleconference.

          45. Plaintiffrepeatedlydeniedsuch refusalbut statedshe had plansand couldnot

work the requestedshift change.

          46. Defendantvia its agentsdid not ask Plaintiffwhy she could not work the changed

work shift.

                                                Defendantvia Zipperlentold Plaintiff
          47. Duringthe MarchB,2OO7teleconference,

she was terminatedfrom employmentwith Defendantfor refusingto work an assignmentshift.

                                           and monitoredon a dailybasisby Defendantdue
          48. Plaintiffwas undulyscrutinized

to her nationalorigin/race/color.

          49. Plaintiffavers Defendant'sactionsare retaliatorydue to Plaintiff'sprevious

                                    agenciesagainstDefendant.
         filedwith the administrative
complaints

                                           COUNTI
                         Retaliation- Discharge(TitleVll, PHRA,PFPO)

          50. Plaintiffre-aversand incorporatesby referenceall paragraphs,supra.

          51. Plaintiffengagedin protectedactivities
                                                   when she filedthe first PHRCcomplaint

and reportedDefendantEmployerto the DPW, Bureauof EqualOpportunity.

          52. Defendanttook materiallyadverseactionsagainstPlaintiffafterand

               with her engagingin protectedactivities.
contemporaneously

          53. As a resultof Plaintiff'sengagingin protectedactivities,Defendanttook materially

                                                             terminatingPlaintiff's
                                            withoutlimitation,
adverseactionstakenagainstPlaintiffincluding,

employment.
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                                  adverseactionsagainstPlaintiff
                 the Oaks'materially
      54. Defendant                                                       a
                                                              coulddissuade

               careaidfromraisinga complaint
        resident
reasonable                                           discrimination.
                                          of employment

                 is vicariously
      55. Defendant                                              Geigerand
                             liablefor theactionsof Fegley,Hawkins,

Zipperlen

              Plaintiff
      WHEREFORE,              requests
                     respectfully               Courtenterjudgment
                                     thisHonorable               in

                                                       andpunitive
                                in theformof compensatory
                         Employer
herfavorandagainstDefendant                                      damages,

         fees,expertfees,costsand suchotherreliefas thisCourtdeemsproper.
attorney's

                                           Respectfullysubmitted:

                                                                    M.GUNTE R

                                                                 !t"rfu)
                                            Karin   Gunter,Esquire
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                     EXHIBIT,.A"
                                            Case 2:08-cv-03386-AB Document 1 Filed 07/18/08 Page 9 of 11
E E O CF o n n l 6 l - B ( 1 0 / 9 6 )                         U.S.Eeuar-ErrplovnrnNr OpponruNrry Comrvnssloiv

                                                            Norrcn oF RrcHTTo SUE(IssurooNREeuESr)
                               To:Cearlean    Henry-Logan                                           From:EqualEmployment           Commission
                                                                                                                         Opportunity
                                 7429North20thStreet                                                               DistrictOffice
                                                                                                         Philadelphia
                                 P h i l a d e l p hP
                                                    i aA, 1 9 1 3 8                                      801MarketStreet,Suite1300
                                                                                                                    PA 1910'7-3127
                                                                                                         Philadelnhia.



                                     On behalf of person(s) nggrieved whose identity is
         I               i            C)NF\DENTIAL (29 CFR f 1601.7(a))


Chargc No.                                                                        EEOC Representative                             T e l e p h o n eN o .

I7F-2007-61546                                                                    Leeal Unit                                      215-440-2828
                                                                                                         (Seealso the additional informationattachedto thisform.)
N o T T C B T O T T I E P N R S O NA C C R I B V B N :
Title VII of the Civil Itights Act of 1964 and/or the Americanswith DisabilitiesAct (ADA): This is your Notice of Rightto Sue,issued
under Title VII anrVorthe ADA basedon the above,numberedcharge. It hasbeenissuedat your request. Your lawsuitunderTitle VII
or the ADA must be filed in federal or state court WITHIN 90 DAYS of your receipt of this Notice. Otherwise,your right to sue
basedon this chargewrll be lost. (The time limit for filing suit basedon a stateclaim may be different.)

        t       X        ]           More than 180 dayshave passedsincethe filing of this charge.

        t                ]           Lessthan 180 clayshave passedsincethe filing of tlus charge,but I have determined that it is unlikely that the EEOC
                                     will bc able to completeits administrativeprocessingwithin 180 days liom the filing of the charge.

        t       X        I           The EEOC is terminatingits processingof this charge.

        t                I           The EEOC will continueto processthis charge.

Age Discrimination in Employment Act (ADEA): You may sueunderthe ADEA at any time from 60 days after tire chargewas fileci
until 90 days after you rcccive notice that we have completedactionon the charge. In this regard,the paragraph marked belorv
a p p l i e st o y o u r c a s e :

        t                ]           The EEOC is closing your case. Therefore,your lawsuitunderthe ADEA must be filed in federal or state court
                                     WITHIN 90 DAYS of your receipt of this Notice. Otherwise,your right to suebasedon the above-numbered    charge
                                     will be lost.

        t                I           The EEOC is continuingits handlilrgof your ADEA case. Flowever,if 60 dayshave passedsincethe filing of
                                     your charge,you nny file suit in federalor statecourt underthe ADEA at tlus time.


Equal I'ay Act (EPA): You alreadyhave the right to sueunderthe EPA (filing an EEOC chargeis not required.) EPA suitsmust be
                                                                                                            This meansthat
brought in federalor statecourt within 2 yearc(3 yearsfor willful violations)of the allegedEPA underpa)rynent.
backpay cluefor any violationsthat occurred more than 2 vears (3 years)before you file suit may not be collectible.

If you file suit basedon this charge,plcase senda copy ofyour court complaintto this office.


                                                                                   On behalf of the Commissron



                                                                                                                                         OF--'L- J'-, z o''k
                                                                                                                                                           (Date Mniled)
Enclosure(s)                                                                    Marie M. Tomasso,DistrictDirector


cc:          GenesisHealth Care
             Karin M. Gunter, Esquirc (for Charging Patly)
                                                                                                                                                           {?nnfllfm
                                                                                                                                                             2 3 2008;';

                                                                                                                                   +..   *s46s     do      hfr$e6   n'q * ${   r. +nr!r   *
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                            "B''
                      EXHIBIT
                      Case 2:08-cv-03386-AB Document 1 Filed 07/18/08 Page 11 of 11
 Chair?qson                                                                                                       C O I \ . I M I S S I ON E R S
 STEPTIENA. GLASSMAN                                                                                         DAVIDA, ALEX,dNDER
 Vh+Chebperson                                                                                                   M. JOEL BOLSTEIN
 RAQUEL OTERO rle YIENGST                                                                                         TIMOTHY CUEVAS
 Se(,retry                                                                                  REl/. DR. JAMES EARL GARMON, SR,
 DANIEL D. YUN                                                                                              TONI M. GILHOOLEY
 ErH*iw Diretor
                                                                                                         J, 1VIIYATT MONDESIRE
 TIOMER C, FLOYD                             COMMOIIWEAUTII OF'PENNS]'I,VANIA                                     KWEILIN NASSAR
                                              HTIFIAN REL,{NONS C O]\{MISSION                          D A N I E L L , 1 V O O D A L L ,J R ,
                                                 301 Chestnut Street, Suite 300
                                                        P.O. Box 3145                                   rvwuphrc.statepaus
                                                  Harrisburg, PA f 7105-3145
                                                    (7r7) 7874410 (Voice)
                                                     (717) 7874087 (rn)
May 23,2008


Karin Gunter
7323 North 2lst Street
                     aA 1 9 1 3 8
P h i l a d e l p h iP

RE:         CearleanHenry-Loganv GenesisHealth Cared/bla The OaksAssistedLiving
            C a s eN o . 2 0 0 6 0 5 3 1 9
            E E O CN o . 1 7 F 2 0 0 7 6 1 5 4 6

Dear Ms. Gunter:

It hasbeenone year sinceyou filed your complaintwith the Pennsylvania    HumanRelationsCommission.This is to noti$r you
that you now have the right to bring an action in the appropriatePennsylvaniaCourt of Common Pleasbasedon the alleged
violationsof the PHRAct containedin your Commissioncomplaint.This right is providedunderSectionl2(c) of the Human
RelationsAct,43, P.S.$ 962(c).

Pleasebe advisedthat you are not required to file such an action in the StateCourt of Common Pleas.The Commissionis
continuing to processyour case,and we will make every eflort to resolveit as soon as possible.If we are not notified otherwise,
we will assule that you want the Commissionto continuehandlingyour case.
If you do file a complaintin a Court of CommonPleas,the Commissionwill dismissyour complaint.This meansthatyou will be
unableto havethe Commissiondecideyour caseevenif your complaintis dismissedin StateCourt becauseof a proceduralerror.
Proceduralerrors may include filing the complaint in StateCourt in the wrong cornty or filing in StateCourt after your time to
file has expired. For this reason,you should make every effort to assurethat any complaint you file in StateCourt will be properly
filed before you file it.

If you believe you might want to take your caseto StateCourt, we suggestthat you consult a private attomey about representing
you in that action. This should be done before you file the complaint so that your attomey may adviseyou on the bestcourseof
action for you to take.

Should you file a complaint in StateCourt, you are requiredby Section l2(c)(2) of the PennsylvaniaHuman RelationsAct to
servethe Human RelationsCommissionwith a copy of the Court complaint.This copy must be servedon the Commissionat the
sametime you file it in Court. The copy is to be sentto:
                        Michael Hardiman,Chief Counsel- Pennsylvania
                                                                   HumanRelationsCommission
                        301 ChestnutStreet- Suite300 P.O.Box 3145
                        Harrisburg,PA 17105-3145

Ifyou have any questionsconcerningthis matter,pleasefeel free to contactthe investigatorwho is handling your case.

Verytrulyyours,

                 -
 ,;{,/;;e *uA,,;;.,,;
Arberdella White-Davis
Director of Compliance
AWD:dmn
